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     Telephone 510/832-3555
 4
     Attorney for Defendant
 5   JOSE FRANCISCO LEYVA
 6
 7                            UNITED STATES DISTRICT COURT
 8                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,         )                   D.C. No. CR 05-671-WHA
                                       )                   (San Francisco)
11                    Plaintiff,       )
                                       )                   REQUEST TO ALLOW
12         vs.                         )                   OUT OF STATE TRAVEL
                                       )                   FOR EMPLOYMENT TRAINING
13   JOSE FRANCISCO LEYVA,             )                   AND [PROPOSED] ORDER
                                       )
14                    Defendant.       )
     _________________________________ )                   Judge: Hon. Nandor J. Vadas
15
16          This Court released defendant Jose Leyva on an unsecured $15,000 personal
17   surety bond. Among the pretrial release conditions imposed was the geographical
18   limitation to the Northern District of California. Mr. Leyva has been supervised by
19   Pretrial Services, and is presently under the supervision of Pretrial Officer Michelle
20   Nero. Mr. Leyva is employed as an independent contractor installing after market
21   electronics such as video, navigation systems, and sat tracking devices.
22          In order to obtain further training and familiarity with new products supplied
23   by one of his primary vendors, Sony, Mr. Leyva wishes to attend a business seminar
24   in South Beach, Florida presented by Sony. The seminar, called the “Destination
25   Playstation,” is an invitation-only seminar geared to train and educate sellers and installers
26   on Sony’s new product lines. Mr. Leyva seeks permission to attend five days – March 1
27
28                                                  1
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 1   through 5, 2006 – (including travel) of this seven-day event. This seminar will be
 2   instrumental in training Mr. Leyva for continued employment in his field.
 3          The pretrial services officer, Michelle Nero, has advised defense counsel that she
 4   has not objection to modifying the terms of the release order to permit Mr. Leyva to travel
 5   to Florida and attended this Sony training seminar, provided he advises Pretrial of the
 6   details of his itinerary in advance. The prosecutor, Robert Rees, has informed the
 7   undersigned that he does not take a position on this request.
 8
 9
     DATED: February 21, 2006                                    /S/ Suzanne A. Luban
10                                                        SUZANNE A. LUBAN,
                                                          Counsel for Defendant Leyva
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     UNITED STATES OF AMERICA,           )                 D.C. No. CR 05-671-WHA
 8                                       )                 (San Francisco)
                       Plaintiff,        )
 9                                       )
           vs.                           )
10                                       )                 [PROPOSED] ORDER
     JOSE FRANCISCO LEYVA,               )
11                                       )
                       Defendant.        )
12   ____________________________________)                 Judge: Hon. Nandor J. Vadas
13
            For Good Cause Shown and for the reasons stated herein:
14
            1. The conditions of pretrial release for Jose Leyva shall be modified to allow Mr.
15
     Leyva travel to Florida to attend a Sony training seminar from March 1 through 5, 2006,
16
     provided he advises Pretrial of the details of his itinerary in advance.
17
            IT IS SO ORDERED.
18
19
     DATED: 3/1/06                                  _______________________________
20                                                  HON. NANDOR J. VADAS
                                                    United States District Judge
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